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                UNITED STATES DISTRICT COURT
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                        SAVANNAH DIVISION                             SO. WST. OF GA.



BRUCE BERNARD TOWNSEND,

      Moant,

V.                                           Case No, CV410-287
                                                       CR498-106
UNITED STATES OF AMERICA,                              CV4 1 O-OO
                                                       CV402-148
      Respondent.


                               ORDER
      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judges Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

      SO ORDERED this            day of                 , 2011.



                                  B. AVWNTEDILD
                                  UNITED STAT DISTRICT JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
